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BARRY s. PoLLACK,
Piaimiff,

v. No. 03-2882 n/P

UNITED sTATEs oF AMERiCA,

Defendant.

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ORDER GRANTING DEFENDANT’S SECON]) MOTION FOR RECONSIDERATION

 

Before the Court is the motion (dkt.# 36) of the United States of America (“Defendant”) for
reconsideration of the Court’s January 18, 2005 Orders granting Plaintiff’s motion for
reconsideration and denying Defendant’s motion for reconsideration of the Court’s July 28, 2004
Order granting in part and denying in part Defendant’s motion for summary judgment Plaintiff
Barry Pollack (“Plaintiff”) brought this action pursuant to 26 U.S.C. § 6330(d) for judicial review
of a Noticc of Determination by the Internal Revenue Service (“IRS”). Plaintiff challenged the lRS ’S
assessment against him of a trust fund recovery penalty, the IRS’s collection action, and the F ederal
Tax Lien that the IRS filed against him. The Court granted Det`endant’s motion for summary
judgment as to the issue of Plaintiff’ s tax liability and denied Defendant’s motion for summary
judgment as to review of the collection due process hearing The Court then granted Plaintift‘s
motion for reconsideration of that ordcr, determining that a genuine issue of material fact exists as
to the question of liability. Defendant now moves the Court to reconsider that order. For the

following reasons, Defendant’s motion for reconsideration is GRANTED.

Tliis document entered on the docket sheet in compliance
with Rule 58 and/or 79(3) FHCP on ‘ 9 '

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A motion to alter or amend judgment pursuant to Fed. R. Civ. P. 59(e) may be made for one

of three reasons:

l) An intervening change of controlling law;

2) Evidence not previously available has become available; or

3) lt is necessary to correct a clear error of law or prevent manifest injustice
Fed. R. Civ. P. 59(e); Helton v. ACS Groun and J&S Cafeterias of Pigeon Forge_ lnc.. 964 F.
Supp 1175 (E.D. Tenn. 1997). Rule 59 is not intended to be used to “relitigate issues
previously considered” or to “submit evidence which in the exercise of reasonable diligence,
could have been submitted before.” E. at 1182. Thus, there are limited circumstances in which
a court may grant a motion to alter or amend a judgment

Defendant argues that the Court should reconsider its previous order because the Court

differentiated between an unclaimed certified letter and a refused one and, Defendant contends, the
two have the same effect under the law. Defendant cites Lewin v. C.I.R., 569 F.2d 444 (7th Cir.
1978), Brown v. Lethert, 360 F.2d 560 (Sth Cir. 1966), and Sego v. C.I.R., 2000 WL 889754 (U.S.
T.C. 2000), to support its proposition and to show that when there is attempted delivery and the
taxpayer fails to retrieve the letter from the post office, courts consider the taxpayer as having
refused delivery. Specifically, in each of those cases, there was no dispute about whether the
attempted address was the plaintiffs correct addressl It was conceded in each case that the post
office attempted delivery to the correct address and plaintiff did not pick the letter up from the post
office In those cases, the court held that failure to retrieve the letter from the post office was the
equivalent of refusal.

Here, on the other hand, Plaintiff maintains that the post office attempted delivery to the

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wrong address and Plaintiff was never made aware that there was a letter being held at the post
office Title 26 of the United States Code, Section 6330 requires that a taxpayer be given notice and
an opportunity for an administrative review prior to assessment of the taxpayer’s liability. “lt is . .
. clear that section 6330(0)(2)(B) contemplates actual receipt of the notice of deficiency by the
taxpayer.” Tatum v. Commissioner of lnternal Revenue, 2003 WL 1918914 (U.S. T.C. 2003). In
the instant case, a closer examination of the record supports Defendant’s assertion that delivery was
attempted at the correct address. As noted in the cases cited by Defendant, a taxpayer cannot defeat
actual receipt by intentionally refusing delivery of notice. However, when a taxpayer does not
receive notice through no fault of his own, he is permitted to challenge the underlying tax liabilities
§ The Court finds that the address on the envelope and the certified mail receipt are identical, and
both contain Plaintifft’s correct address. Thus the Court finds, upon reconsideration, in light of
applicable law, that Plainfiff was afforded notice of the opportuity to dispute the underlying tax
liability before the assessment was made. The fact that he failed to accept delivery of the certified
mail does not serve to defeat notice. As no genuine issue of fact exists, summary judgment is
appropriate as a matter of Iaw.

Accordingly, Defendant’s motion for reconsideration is GRANTED.

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B RNICE BO E DONALD
TED STA'I`ES DISTRICT JUDGE

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:03-CV-02882 was distributed by fax, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

